                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE

 IN THE MATTER OF CERTAIN                        Case Nos. 20-MJ-2544
 SEARCH WARRANTS ASSOCIATED                                20-MJ-2545
 GATEWAY MEDICAL ASSOCIATES                                20-MJ-2546
                                                           20-MJ-2547
                                                           20-MJ-2548
                                                           20-MJ-2581
                                                           20-MJ-2582
                                                           21-MJ-2755

                                MOTION TO UNSEAL

       The United States respectfully moves to unseal all papers related to the search

warrant applications assigned the above-captioned case numbers. There is no longer a need

to seal these items because a grand jury in the Eastern District of Kentucky has returned an

indictment in this matter.



                                          Respectfully submitted,

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